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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

STEVEN B. AUBREY, INDIVIDUALLY   §
STEVEN B. AUBREY, AS BENEFICIARY §
OF THE AUBREY FAMILY TRUST, AND  §
BRIAN E. VODICKA,                §
                PLAINTIFS,       §
V.                               §                            No. 3:19-CV-2792-N-BK
                                 §
THE ESTATE OF IRA TOBOLOWSKY,    §
MICHAEL B. TOBOLOWSKY, FAITH G. §
BURK, STEPHEN SCHOETTMER, DAVID §
P. HENDRICKS, ERIC V. MOYE,      §
DONALD J. COSBY, RICHARD B.      §
AUBREY, JR., BETSY S. AUBREY, AS §
INDEPENDENT EXECUTRIX OF THE     §
ESTATE OF RICHARD BUCK AUBREY, §
DECEASED, RACHEL ANN CRAIG,      §
ROBIN L. LANDIS, AND JACKIE K.   §
WHEELINGTON,                     §
                 DEFENDANTS.

      ORDER ACCEPTING FINDINGS, CONCLUSIONS AND RECOMMENDATION
               OF THE UNITED STATES MAGISTRATE JUDGE

       United States Magistrate Judge Renée Harris Toliver made findings, conclusions and a

recommendation in this case. Plaintiff, Steven B. Aubrey, filed the only objections and the Court

has made a de novo review of those portions of the proposed findings, conclusions and

recommendation to which objections were made. The objections are overruled and the Court

accepts the Findings, Conclusions and Recommendation of the United States Magistrate Judge.

Judge Cosby and Judge Moyé’s motions, Doc. 15, Doc. 35, are GRANTED, and Plaintiffs’ case

against them is DISMISSED WITH PREJUDICE. Judge Cosby and Judge Moyé are

terminated as Defendants in this case.
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     SO ORDERED this 18th day of September, 2020.



                                             ____________________________________
                                             UNITED STATES DISTRICT JUDGE
